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                   United States District Court
                    District of Massachusetts
___________________________________
                                    )
United States of America,           )
                                    )
               v.                   )    Criminal Action No.
                                    )    19-10080-NMG
Gamal Abdelaziz and John Wilson,    )
                                    )
          Defendants.               )
___________________________________)


                          MEMORANDUM & ORDER

GORTON, J.

     On October 8, 2021, after a 20-day jury trial, defendant

Gamal Abdelaziz was convicted of one count of conspiracy to

commit mail and wire fraud and honest services mail and wire

fraud, in violation of 18 U.S.C. § 1349, and one count of

conspiracy to commit federal programs bribery, in violation of

18 U.S.C. § 371.    Defendant John Wilson was convicted of one

count of conspiracy to commit mail and wire fraud and honest

services mail and wire fraud, in violation of 18 U.S.C. § 1349,

one count of conspiracy to commit federal programs bribery, in

violation of 18 U.S.C. § 371, two substantive counts of federal

programs bribery, in violation of 18 U.S.C. § 666, and one count

of filing a false tax return, in violation of 26 U.S.C. § 7206.

     At the close of the government’s case, the defendants moved

for judgments of acquittal under Federal Rule of Criminal

Procedure 29 (Docket No. 2330), which they renewed at the close

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of the evidence (Docket No. 2351).         Following the verdict, the

defendants again renewed their motions and moved for a new trial

under Federal Rule of Criminal Procedure 33 (Docket No. 2412).

The government opposes all pending motions.          For the reasons

that follow, the defendants’ motions will be denied.

  I.     Background

       The facts underlying the present case have been recited on

several occasions. See, e.g. Docket Nos. 1169 and 1334.            For

present purposes, it suffices to recount that the defendants,

along with over a dozen other alleged co-conspirators, were

indicted in March, 2019, and charged with the above-listed

crimes in connection with the college admissions of several of

their respective children.       Wilson and Abdelaziz, with the aid

of William “Rick” Singer and others, were alleged to have each

fraudulently designated a child as an athletic recruit to secure

that child’s admission to the University of Southern California

(“USC”).    The indictment further alleged that Wilson, again with

the aid of Singer, attempted to gain admission for his twin

daughters to Stanford and Harvard, respectively, by similar

means.    In September, 2021, this case proceeded to a jury trial

which continued for four weeks and resulted in the conviction of

both defendants on all charges tried.

       In their motions for judgment of acquittal and a new trial,

defendants allege error in essentially every ruling made by the

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Court during their trial, and in numerous orders issued by the

Court during the two and a half years that this case has been

pending.   With respect to a majority of those rulings,

defendants incorporate by reference their prior memoranda in

support of motions, previously denied, without substantial

argument or explanation.    As to those for which they do provide

elaboration, their arguments are not materially different from

those previously made, and the Court finds them no more

convincing for their repetition.     Accordingly, the Court

specifically addresses herein only those disputations that raise

issues which the Court has not previously considered and denied.

  II.   Motion for Acquittal

        A. Legal Standard

    Under Fed. R. Crim. P. 29(c), the Court “may set aside the

verdict and enter an acquittal”.     In ruling upon a motion for

judgment of acquittal under Rule 29, the Court must “consider

the evidence as a whole taken in the light most favorable to the

government” and decide whether a rational jury could have found

guilt beyond a reasonable doubt. United States v. Smith, 680

F.2d 255, 259 (1st Cir. 1982).     If the guilty verdict is

supported by a “plausible rendition” of the record, the Court

must not disturb it. United States v. Moran, 312 F.3d 480, 487

(1st Cir. 2002).




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         B. Application

    The defendants argue that they are entitled to a judgment

of acquittal because the government has purportedly failed to

prove any of the elements of each of the charged crimes. See

Docket No. 2330 at 2.     They challenge every aspect of their

conviction as resting on a factually deficient basis and contend

that for numerous reasons their convictions are unsupportable as

a matter of law.

    Those arguments are without merit.       While the Court does

not find it necessary to revisit each of the nearly 250 exhibits

and the trial testimony of more than a dozen witnesses, the

evidence presented at trial offered the jury, on every count, a

substantial basis for its guilty verdict.       That was true both at

the time the government rested and at the close of all of the

evidence. See Fed. R. Crim. P. 29(b).

    The defendants devote most of their Rule 29 motions to

contesting questions of law upon which the Court has already

ruled.   For instance, they contend that admissions slots are not

property, that there was no tangible economic harm to the victim

university and thus no bribe and that co-conspirator statements

should not have been admitted.     The Court has addressed those

issues and declines to reconsider its rulings. See Docket No.

1334 (holding that admissions slots constitute property and that

the payments to USC could constitute bribes), Docket No. 2405 at

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70:25-71:6 (holding that the government satisfied its burden to

admit co-conspirator statements under United States v.

Petrozziello, 548 F.2d 20 (1st Cir. 1977)).

     Finally, the two contentions that defendants raise that are

not duplicative of previously rejected arguments are confronted

here.

         i.   Constructive amendment and prejudicial variance

     First, the defendants argue that the government’s use of

the term “athletic recruitment slots” at trial constituted a

constructive amendment or a prejudicial variance to the fourth

superseding indictment which charged them, in relevant part,

with participating in a conspiracy the object of which was to

secure admissions slots.

     A constructive amendment of an indictment occurs when its

charging terms are altered, literally or in effect, by the

government after the grand jury has last passed on them. United

States v. Brandao, 539 F.3d 44, 57 (1st Cir. 2008).        For its

part, a variance occurs when the indictment is unamended but the

facts proven at trial differ from those alleged in the

indictment. United States v. Fisher, 3 F.3d 456, 462-63 (1st

Cir. 1993).   While a constructive amendment is prejudicial per

se, a variance is only prejudicial if it affected the

defendant’s substantial rights, that is, his right to have




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knowledge of the charges against him sufficient to prepare an

effective defense. Id.

     Neither a constructive amendment nor a variance occurred in

this case.   The fourth superseding indictment and the

government’s theory at trial were materially identical.          They

both identified athletic recruitment as the means employed by

the defendants to obtain admissions slots for their children.

For instance, as to defendant Abdelaziz, the fourth superseding

indictment alleged that he paid Singer $300,000

     to facilitate his daughter’s admission to USC as a
     purported basketball recruit [and that Donna Heinel]
     obtained the subcommittee’s approval to admit her to USC as
     a basketball recruit.

Docket No. 732 at 18.    With respect to defendant Wilson, the

fourth superseding indictment alleged that he, too, paid Singer

to

     facilitate his son’s admission to USC as a purported water
     polo recruit [and that the] USC subcommittee for athletic
     admissions approved the admission of Wilson’s son as a
     water polo recruit.

Id. at 35-36 (capitalization removed).       It alleged similar

facts, i.e. the use of fake athletic credentials to obtain

admission of Wilson’s daughters to Harvard and Stanford. Id. at

37-38.   At trial, the government presented evidence showing that

the defendants sought admission for their children in that

manner and thus there was no constructive amendment or variance.




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         ii.     Venue

    Second, the defendants’ argument that there was

insufficient evidence of venue with respect to Counts I and II

is unavailing.   As the Court instructed the jury, venue requires

proof only by a preponderance of the evidence. United States v.

Valenzuela, 849 F.3d 477, 487 (1st Cir. 2017).        Where, as here,

an alleged conspiracy spanned several jurisdictions, the

defendants may be tried in any jurisdiction where any act in

furtherance of the conspiracy occurred. See United States v.

Uribe, 890 F.2d 554, 558 (1st Cir. 1989).       Further, in a

conspiracy case, the act giving rise to venue need not be

committed by the defendant. United States v. Georgiadis, 819

F.3d 4, 11 (1st Cir. 2016) (explaining that venue is proper in

any district where defendant or a co-conspirator committed an

overt act in furtherance of the conspiracy), Docket No. 1399

(holding the same).

    Defendants contend that because the evidence was

insufficient to prove a single conspiracy, venue as to each

defendant must be established by that defendant’s own acts.            The

jury was instructed on the government’s burden to prove a single

conspiracy as to Counts I and II and found that such

conspiracies existed.    The Court considers the defendants’

argument to be without merit. See United States v. Bedini, 861

F.3d 10, 14 (1st Cir. 2017) (stating that a jury’s finding of a

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single conspiracy is disturbed only if there is insufficient

evidence to support it).

    In any case, sufficient evidence of venue exists to support

the jury’s verdict on the conspiracy counts.       For instance, the

evidence showed that, inter alia, 1) Singer arranged to meet

with John Wilson in Boston and called him while both were in

Boston to postpone the meeting, 2) Singer met Yale soccer coach

Rudy Meredith in Boston, 3) Singer called Heinel while in Boston

and 4) Singer called Abdelaziz while in Boston.        From this and

other evidence, the jury could, and did, reasonably conclude

that venue in Massachusetts was proper.

  III. Motion for New Trial

          A. Legal Standard

    District courts may allow a motion for a new trial “if the

interests of justice so require”. Fed. R. Crim. P. 33(a).         While

the Court's authority to order a new trial is greater than its

authority to grant a motion for acquittal, see United States v.

Ruiz, 105 F.3d 1492, 1501 (1st Cir. 1997), the remedy is

nevertheless “sparingly used”, United States v. Merlino, 592

F.3d 22, 32 (1st Cir. 2010).     A new trial is appropriate “only

where there would be a miscarriage of justice and where the

evidence preponderates heavily against the verdict”. Id.

(quoting United States v. Wilkerson, 251 F.3d 273, 278 (1st Cir.

2001)).

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       B. Application

    As with their motion for acquittal, defendants proffer

numerous arguments in favor of a new trial.        The vast majority

of those arguments have been previously considered and rejected

by the Court.    Two novel claims addressed here for the first

time fare no better.

                i. The wiretaps

    Defendants allege that a new trial is required because the

government withheld “crucial exculpatory evidence” relating to

the consensual wiretaps of Singer’s phone in violation of Brady

v. Maryland, 373 U.S. 83 (1963).        The evidence at issue is a fax

cover sheet dated September 28, 2018, and a fax response cover

sheet of the same date.    The cover sheets pertain to the

transmission of Singer’s consent to the government’s wiretap of

his phone to AT&T.     Both cover sheets state that the consensual

wiretap of Singer’s phone would end December 26, 2018.

    The Brady decision compels prosecutors to reveal material

exculpatory and impeaching evidence. United States v. Laureano-

Salgado, 933 F.3d 20, 26 (1st Cir. 2019).        A motion for a new

trial grounded on newly discovered evidence usually requires the

moving defendants to demonstrate, along with the prior

unavailability of the evidence and their own diligence, the

probability that an acquittal would have resulted from its

introduction. See United States v. Wright, 625 F.2d 1017, 1019

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(1st Cir. 1980).      On the other hand, a new trial claim based on

evidence previously unavailable to the defendant due to a Brady

violation imposes a less onerous standard with respect to the

prejudice element, demanding only that the defendant show a

reasonable probability that the proceeding would have been

different if the evidence had been available. See United States

v. Maldonado-Rivera, 489 F.3d 60, 66 (1st Cir. 2007).

       As this Court has previously held, a wiretap may be

maintained by court order or by the consent of one of the

recorded parties. Docket No. 2211, see United States v. Conley,

531 F.3d 56, 58 (1st Cir. 2008) (explaining that 18 U.S.C.

2511(2)(c) “authorizes telephone calls to be monitored if one

party to the call consents to the monitoring”) (O’Connor, J.).

If adequate consent exists, a court order is superfluous; if

not, a court order is required. See 18 U.S.C. § 2511(2)(a), (c)-

(d).    Thus, for defendants to prevail on their Brady-based claim

for a new trial, the fax cover sheets must, 1) constitute Brady

material and, 2) demonstrate that for at least some of the

relevant period both forms of authorization were lacking.

       To that end, defendants direct the Court to what they

contend are gaps in the authorization of the wiretap, i.e.

periods where neither consent nor a valid court order existed.

First, they maintain that the fax cover sheets show that there

was a period of time on September 28, 2018, when the government

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was unlawfully monitoring Singer’s phone which taints the entire

consensual monitoring period.     Second, they submit that, because

the fax cover sheets stated that the end date for consensual

monitoring was December 26, 2018, any recordings thereafter must

be suppressed, including several in which defendants made

incriminating statements.

    With respect to the September, 2018, surveillance,

defendants contend that the court-ordered wiretap of Singer’s

phone ended at midnight on September 27, 2018.        Because the fax

sheet shows that Singer’s consent was transmitted to AT&T on

September 28, 2018, defendants conclude that there must have

been at least some time on September 28 during which the

government was unlawfully monitoring Singer’s phone.         The

government rejoins that the reference to September 27, made in

its motion to seal the wiretap, was “simply an error” and one

which the defendants have known about for more than two years,

citing its admission of that error in Docket No. 1138, filed

April 30, 2020.   Further, it asserts that the intercepted calls

were in fact sealed through September 29, 2018, notwithstanding

its error in the motion to seal and defendants’ argument to the

contrary.

    This Court (Burroughs, J.) initially authorized a wiretap

of Singer’s phone on June 5, 2018.       On August 30, 2018, the

Court allowed the last of several 30-day extensions of that

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wiretap which, as a result, expired on September 29, 2018.           The

recordings made during the final 30-day extension were sealed on

October 2, 2018.   In the sealing motion, submitted to the Court

after the wiretap expired, the government erroneously referred

to September 27, 2018, i.e. 28 days after the August 30 issuance

of the 30-day extension, as its expiration date.        The sealed

disk, however, contained the wiretap recordings through

September 29, 2018, a fact which other related documents make

clear. See United States v. Heinel, No. 19-10081-IT, Docket No.

969-1 at 14 (D. Mass. Nov. 1, 2021).      While defendants make much

of the mistaken representation, the Court is underwhelmed.           The

government was operating under a court-authorized wiretap

through September 29 and under a consensual wiretap from, at

least, 11:03 a.m. on September 28, when AT&T confirmed receipt

of the transmission of Singer’s consent. Id. at 8-9.         At no

point in September, 2018, was there an illegal wiretap of

Singer’s phone.

    In any event, the Court does not perceive how a failure to

seal tapes properly could retroactively render illegal the

court-authorized wiretap.     Rather, the erroneous reference to

the wiretap’s end date would, at most, cast in doubt the

admissibility of the September 28 and 29 recordings. See United

States v. Mora, 821 F.2d 860, 868 (1st Cir. 1987).         On September

28, however, no pertinent calls on the wire occurred until after

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the government received the second fax cover sheet from AT&T,

confirming receipt of Singer’s consent to have his phone

monitored. See United States v. Heinel, No. 19-10081-IT, Docket

No. 969-1 at 9 (D. Mass. Nov. 1, 2021).       Thus, even if the Court

concluded that the erroneous reference in the motion compromised

the sealing of the September 28 and 29 calls, all recordings

made on those two days also fell within the ambit of the

consensual wiretap.

     Turning to the December monitoring, defendants’ motion

ignores the fact that Singer consented to the extension of the

consensual wiretap on December 20, 2018.1       Singer’s consent was

transmitted to AT&T the next day, that is, five days before the

prior consent was to expire, and AT&T confirmed receipt on the

same day. Id. at 16-17.

     In conclusion, the evidentiary value of the fax cover

sheets is insufficient to satisfy the Brady standard for a new

trial because the cover sheets would have served only to

corroborate that, at all times, government surveillance of

Singer’s phone was conducted pursuant to a valid wiretap,

whether Court-ordered or consensual.      Defendants’ argument that

that there were periods of unlawful surveillance is belied by




1 Defendants also fail to note that in March, 2020, they appended
that signed consent form to a memorandum they filed in support
of a motion to dismiss. See Docket No. 972-39 at 35-36.

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relevant evidence introduced at trial and by the fax cover

sheets themselves.    By the same token, defendants have not made

out a predicate Brady violation because the allegedly suppressed

evidence is neither material nor favorable. See Bucci v. United

States, 662 F.3d 18, 38 (1st Cir. 2011).

    Finally, defendants propose an alternate route to a new

trial through Brady.     Defendants insist that regardless of the

legality of the wiretaps, they should be suppressed (and the

motion for a new trial granted) because the government failed to

disclose the “plainly exculpatory” fax cover sheets for over two

years, after having previously failed to disclose certain notes

Singer made on his iPhone.     Put differently, they contend that

the alleged Brady violation requires suppression of the wiretaps

under the Court’s general supervisory power and once the

wiretaps are suppressed, defendants’ motion for a new trial must

be allowed. See United States v. Horn, 29 F.3d 754, 760 (1st

Cir. 1994) (detailing the contours of that supervisory power).

While the Court possesses such power, it is a “potent elixir”

not to be “casually dispensed”. United States v. Santana, 6 F.3d

1, 10 (1st Cir. 1993).    Because the Court concludes that the fax

cover sheets are neither material nor exculpatory, suppression

of the wiretaps is unwarranted.




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          ii.   The government’s closing

    Finally, defendants argue that failure to sever their

trials was error.   This is not the first time they have made

that argument, see, e.g. Docket No. 1414 (denying defendants’

motion to sever), but its present iteration contains a novel

wrinkle, namely, that the government’s rebuttal closing was

unfairly prejudicial.

    At trial, Wilson and Abdelaziz essentially relied upon the

same defense, i.e. notwithstanding the fact that Singer emailed

them fake profiles, they never saw those profiles because they

never read the emails.    Consequently, they take umbrage with the

prosecutor’s suggestion that it was “incredible unbelievable bad

luck” that they each missed emails from Singer containing their

children’s fake profiles and contend that the failure to sever

allowed the prosecutor to cast unfair aspersions on their

defense by implying that, because both relied upon it, it was

less likely to be true.    The government responds that it was

entitled to argue that defendants’ explanations were implausible

and that in any event, they waived the argument by failing to

raise an objection at the time of the closing.

    When considering a motion for a new trial based on a

prosecutor’s closing argument, the court must determine whether

the comments were improper and, if so, whether they “so poisoned

the well” as to necessitate a new trial. United States v.

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Carpenter, 494 F.3d 13, 23 (1st Cir. 2007).        Improper argument

can include the use of inflammatory or pejorative language,

distracting commentary, disregard of court orders or warnings

and misstatements of law or fact. United States v. Brissette,

No. 16-10137, 2020 U.S. Dist. LEXIS 24861 at *100-01 (D. Mass.

Feb. 12, 2020) (citing United States v. Azubike, 504 F.3d 30,

38-39 (1st Cir. 2007)).    It does not, however, demand a new

trial unless prejudice results. United States v. Giorgi, 840

F.2d 1022, 1037 (1st Cir. 1988).      In determining the prejudicial

effect, if any, of improper argument, a Court considers factors

such as the extent of the improper remarks, the context and the

weight of the evidence against the defendants. Id.

    In addition, a defendant’s failure to object to closing

argument contemporaneously generally bars that defendant from

later moving for a new trial on that basis. See Computer Sys.

Eng’g, Inc. v. Qantel Corp., 740 F.2d 59, 69 (1st Cir. 1984).

    The defendants first raised their objection to the

prosecutor’s rebuttal closing in their renewed motion for

judgment of acquittal and a new trial and therefore it is

untimely.   Even if the Court were to excuse the untimeliness,

the government’s rebuttal was neither improper nor unfairly

prejudicial.   The prosecutor’s comments were not inflammatory,

pejorative or otherwise improper, and defendants were not

prejudiced by the prosecutor addressing the implausibility of

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their defenses when the issue of each defendant’s

inattentiveness had been salient throughout the trial.

                                 ORDER

    For the foregoing reasons,

       − defendants’ motion for judgment of acquittal under

          Federal Rule of Criminal Procedure 29 (Docket No.

          2330) is DENIED;

       − defendants’ renewed motion for judgment of acquittal

          (Docket No. 2351) is DENIED; and

       − defendants’ renewed motion for judgment of acquittal

          and motion for new trial (Docket No. 2412) is DENIED.

So ordered.



                                         _/s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge

Dated December 20, 2021




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